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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO.: 14-CV-24887-LOUIS

  IN RE APPLICATION OF
  HORNBEAM CORPORATION,

  Request for Discovery Pursuant to
  28 U.S.C. § 1782
   _________________________________/

        ORDER AMENDING STIPULATED PROTECTIVE ORDER (ECF NO. 224)

         This cause is before the Court sua sponte. On July 12, 2018, the Court entered the

  Stipulated Protective Order (ECF No. 224). Upon consideration, the Court hereby AMENDS the

  Stipulated Protective Order as follows:

  1. Section 6(f), which currently states that “Certifications will be produced to and kept on file

     by the Court, and the non-disclosing Party may make an application to have the

     Certifications produced for good cause” is stricken, in its entirety.

  2. The “Certification,” described as “Exhibit A” at Section 6(a), was not attached to the

     Stipulated Protective Order, nor was any such “Certification” advanced by the Parties.

     Accordingly, attached hereto as Exhibit A is the Certification, which counsel for any Party

     who discloses or has disclosed Confidential Information shall cause to have executed by the

     receiving person, pursuant to and in compliance with Section 6(a) and (b).

  3. All other sections of the Stipulated Protective Order shall remain unchanged as entered.

         It is further ORDERED that email communications with chambers by the Parties and/or

  their counsel is prohibited. All applications for relief, including for hearings, shall be filed and

  docketed.



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        DONE AND ORDERED in chambers in Miami, Florida, on October 24, 2018.




                                              LAUREN LOUIS
                                              UNITED STATES MAGISTRATE JUDGE




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